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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

FELED

UNITED STATES OF AMERICA, ) DEC l 2 2012
) .
Plaintiff, ) Pl`|ll LOmbal'dl, Clel'l(
) u.S. DlSTRlcT couR-r
v. ) Civil Action No.
)
CLEAN CREDIT, INC., ) _ ‘
CHRISTOPHER PARKS, ) 1 2 CV 6 7 4 GKF TLW
)
Defendants. )

COMPLAINT FOR RECOVERY OF CIVIL MONETARY FORFEITURE PENALTY

The United States of America, through Assistant United States Attorney Phil Pinnell and on
behalf of its agency, the Federal Communications Commission (“FCC”), files this action against
Clean Credit, Inc. (“Clean Credit”) and Christopher Parks. In support, the United States shows the
following:

INTRODUCTION

l. This is a civil action brought by the United States pursuant to the Cornmunications
Act of 1934, 47 U.S.C. § 504(a), to enforce a Forfeiture Order issued by the Federal
Communications Commission (“FCC”) on September 28, 2010, assessing a monetary forfeiture

against Defendants, Clean Credit and Christopher Parks (collectively “Defendants”).l
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l The two Notices of Apparent Liability (“NAL”), see infra 111[ l7-l8, 21-22, issued by the FCC to Clean Credit
specifically recognized that all references to “Clean Credit” in the NALs also encompassed Defendant Christopher
Parks, the president of Clean Credit, and all other principals or officers of Clean Credit. See Clean Credit, Inc., 23
FCC Rcd 13866, 13866 n.2 (Enf. Bur. 2008); Clean Credit, Inc., 23 FCC Rcd 18506, 185061 n.2 (2008).

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JURISDICTION AND VENUE

2. This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1331, 1345, and
1355 and 47 U.S.C. § 504(a).

3. Venue is proper in the Northem District of Oklahoma pursuant to 28 U.S.C.
§§ 1355(b), l39l(b), and 1395(a) and 47 U.S.C. § 504(a), because Defendant Clean Credit operated
in Tulsa, Oklahoma and Defendant Christopher Parks resides in Jenks, Oklahoma, both cities
within the Northern District of Oklahoma.

PARTIES

4. Plaintiff is the United States of America.

5. The FCC is an independent federal regulatory agency created by Congress to regulate
intrastate, interstate, and foreign radio communications pursuant to the Communications Act of
1934, as amended (“Act”), 47 U.S.C. § 151 et seq.

6. Upon information and belief, Defendant Clean Credit was an Oklahoma business
operating in Tulsa that advertised unsecured lines of credit and credit repair services. Defendant
Clean Credit’s principal place of business was located at 5332 South Memorial Drive, Suite 100,
Tulsa, Oklahoma 74145, a location within this District. Upon information and belief, Defendant
Clean Credit was suspended by the Oklahoma Tax Commission on June ll, 2007.

7. Upon information and belief, Defendant Christopher Parks is the owner and president
of Clean Credit. Upon information and belief, as the president of Clean Credit, Defendant Parks
managed, controlled, and directed the activities of Clean Credit. Upon information and belief,
Defendant Parks is a resident of the state of Oklahoma who resides at 722 West 108 Place, Jenks,

Oklahoma 74037, a location within this District.

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STATUTORY AND REGULATORY BACKGROUND

8. Section 227 of the Act, 47 U.S.C. §227, generally prohibits the use of telephone
facsimile machines to send unsolicited advertisements Section 227(b)(1)(C) of the Act, 47 U.S.C.
§ 227(b)(1)(C), makes it unlawful for any person to use “a telephone facsimile machine, computer,
or other device to send an unsolicited advertisement to a telephone facsimile machine.” See also 47
C.F.R. § 64.1200(a)(3). For this purpose, an unsolicited advertisement is defined as “any material
advertising the commercial availability or quality of any property, goods, or services which is
transmitted to any person without that person’s express invitation or permission.” 47 U.S.C.
§ 227(a)(4).

9. The statute provides an exception to the general prohibition against the use of
telephone facsimile machines to send unsolicited advertisements when such transmissions are made
in the context of an “established business relationship” between the sender and the recipient. 47
U.S.C. § 227(b)(1)(C); see also 47 C.F.R. § 64.1200(a)(3).

10. Section 64.1200(f)(5) defines an “established business relationship” as “a prior or
existing relationship formed by a voluntary two-way communication between a person or entity
and a business or residential subscriber with or without an exchange of consideration, on the basis
of an inquiry, application, purchase or transaction by the business or residential subscriber
regarding products or services offered by such person or entity, which relationship has not been
previously terminated by either party.” 47 C.F.R. § 64.1200(f)(5).

ll, Under the established business relationship exception, the facsimile telephone number
to which the sender transmits a facsimile may only be obtained through a “voluntary
communication . . . by the recipient directly to the sender within the context of an established

business relationship” or through a “directory, advertisement, or site on the Intemet to which the

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recipient voluntarily agreed to make available its facsimile number for public distribution.” 47
C.F.R. § 64.1200(a)(3)(ii); see also 47 U.S.C. § 227(b)(1)(C)(ii).

12. Pursuant to section 503(b) of the Act, 47 U.S.C. § 503(b), any person whom the FCC
determines to have willfully or repeatedly failed to comply with the provisions of Chapter 5, Title
47 of the United States Code or any rule, regulation or order issued by the FCC (including section
64.1200) shall be liable to the United States for a forfeiture penalty.

13. Section 503(b)(5) of the Act, 47 U.S.C. § 503(b)(5), authorizes the FCC to assess a
forfeiture penalty against any person who is not a common carrier so long as such person is (A)
first issued a citation of the violation charged; (B) given a reasonable opportunity for a personal
interview with an FCC official; and (C) subsequently engages in conduct of the type described in
the citation.

14. Section 312(f)(1) of the Act, which applies to violations for which forfeitures are
assessed under section 503(b), provides that “[t]he term ‘willful,’ when used with reference to the
commission or omission of any act, means the conscious and deliberate commission or omission of
such act, irrespective of any intent to violate any provision of this Act or any rule or regulation of
the Commission authorized by this Act.” 47 U.S.C. §312(t)(l). Section 312(f)(2) of the Act,
which also applies to violations for which forfeitures are assessed under section 503(b), provides
that “[t]he term ‘repeated,’ when used with reference to the commission or omission of any act,
means the commission or omission of such act more than once, or, if such commission or omission
is continuous, for more than one day.” 47 U.S.C. § 312(f)(2).

THE INITIAL VIOLATION AND CITATION
15. On August 29, 2007, in response to at least one consumer complaint alleging that

Defendants had transmitted an unsolicited advertisement to the complainant’s facsimile machine,

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the FCC Enforcement Bureau issued a citation to Defendants for violation of section 227 of the Act
by using a telephone facsimile machine, computer, or other device to send an unsolicited
advertisement Citation from Kurt A. Schroeder, Deputy Chief, Telecommunications Consumers
Division, Enforcement Bureau, File No. EB-07-TC-l3259 to Clean Credit, Inc., (Aug. 29, 2007)
(“Citation”), attached as Exhibit A. The Citation, which was sent by Certifled Mail, return receipt
requested, to the attention of Defendant Christopher Parks, informed Defendants that their
transmission had violated section 227 and warned them that subsequent violations could result in
the imposition of monetary forfeitures of up to $11,000 per violation. The Citation included a copy
of the consumer complaint underlying the Citation. Id. The Citation informed Defendants that
within thirty (30) days of the date of the Citation, they could either request an interview with FCC
staff or submit a written statement responding to the Citation. Id. Defendants did not request an
interview or otherwise respond to the Citation. Id.
FIRST NOTICE OF APPARENT LIABILITY

16. In October 2007, the FCC received complaints from three (3) different individuals
alleging that Defendants collectively faxed to them during that time at least three (3) unsolicited
advertisements offering unsecured lines of credit. Defendants did not have an established business
relationship with any of these complainants, nor did any complainant give Defendants permission
to send the facsimile transmissions

17. On or about September 26, 2008, the FCC Enforcement Bureau issued a Notice of
Apparent Liability for Forfeiture (“First NAL”) to Defendants in the amount of $13,500.00 for the
apparent willful or repeated violations of section 227 of the Act, 47 U.S.C. § 227, for transmitting
at least three unsolicited advertisements to the telephone facsimile machines of at least three

persons subsequent to Defendants’ receipt of the Citation for such practices. Clean Credit, Inc., 23

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FCC Rcd 13866 (Enf. Bur. 2008), attached as Exhibit B. The FCC sent a copy of the First NAL to
Defendant Clean Credit, with attention to Defendant Parks, by Certifled Mail, return receipt
requested, and by regular First Class Mail.

18. The First NAL ordered Defendants to pay the full amount of the proposed forfeiture,
or to file a written statement seeking reduction or cancellation of the proposed forfeiture, within
thirty (30) days of the date of the First NAL.

l9. The FCC did not receive a response to the First NAL.

SECOND NOTICE OF APPARENT LIABILITY

20. From December 2007 through April 2008, the FCC received complaints from twenty-
six (26) different individuals alleging that Defendants collectively faxed to them during that time at
least twenty-eight (28) unsolicited advertisements offering unsecured lines of credit. Defendants
did not have an established business relationship with any of these complainants, nor did any
complainant give Defendants permission to send the facsimile transmissions

21. On or about December l9, 2008, the FCC issued another Notice of Apparent Liability
for Forfeiture (“Second NAL”) to Defendants in the amount of $126,000.00 for the apparent willful
or repeated violations of section 227 of the Act, 47 U.S.C. § 227, for transmitting at least twenty-
eight unsolicited advertisements to the telephone facsimile machines of at least twenty-six persons
subsequent to Defendants’ receipt of the Citation for such practices. Clean Credit, Inc., 23 FCC
Rcd 18506 (2008), attached as Exhibit C. The FCC sent a copy of the Second NAL to Defendant
Clean Credit, with attention to Defendant Parks, by Certified Mail, return receipt requested, and by

regular First Class Mail.

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22. The Second NAL ordered Defendants to pay the full amount of the proposed
forfeiture, or to file a written statement seeking reduction or cancellation of the proposed forfeiture,
within thirty (3 0) days of the date of the Second NAL.

23. The FCC did not receive a response to the Second NAL.

FORFEITURE ORDER

24. On or about September 28, 2010, the FCC issued a Forfeiture Order (“Order”) in the
amount of $139,500.00 against Defendants for willful and repeated violations of section 227 of the
Act, and related FCC rules or orders by delivering at least thirty-one (31) unsolicited
advertisements to the telephone facsimile machines of at least twenty-nine (29) different consumers
with whom it did not have an established business relationship Clean Credit, Inc., 25 FCC Rcd
12881 (2010), attached as Exhibit D.

25. The FCC sent a copy of the Order to Defendant Clean Credit, with attention to
Defendant Parks, by Certifled Mail, return receipt requested, and by regular First Class Mail.

DEMAND FOR PAYMENT

26. The Order provided that if Defendant Clean Credit did not pay the forfeiture within
thirty days, the case could be referred to the Department of Justice for enforcement

27. On or about September 16, 2011, the FCC sent Defendants a letter demanding full
payment of the forfeiture within thirty days. A copy of the September 16, 2011, letter is attached as
Exhibit E.

28. Despite due demand, Defendants have not paid the Forfeiture.

29, A Certiflcate of Forfeiture is attached as Exhibit F.

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CLAIM FOR RELIEF

30. Plaintiff repeats and re-alleges each and every allegation set forth in paragraphs l
through 29 above.

31. Defendants willfully and repeatedly violated section 227 of the Act, 47 U.S.C. § 227,
and related rules and orders by delivering at least thirty-one unsolicited advertisements to the
telephone facsimile machines of at least twenty-nine individuals after having been issued a Citation
apprising them that Defendants had violated Section 227 of the Act for the same type of conduct.

32. The FCC properly entered a Forfeiture Order on September 28, 2010, pursuant to 47
U.S.C. § 503(b), in which it asserted a total forfeiture penalty in the amount of $139,500.00 against
Defendants for their violations of 47 U.S.C. § 227, representing the $13,500.00 and $126,000.00
forfeitures proposed on September 26, 2008, and December 19, 2008, respectively.

33. By reason of the foregoing, Defendants are liable to the United States for a forfeiture
penalty pursuant to 47 U.S.C. §503(b), section 1.80 of the Commission’s Rules (“Rules”), 47
C.F.R. § 1.80, and the Commission’s Forfeiture Policy Statement and Amendment of Section 1.80
of the Rules to Incorporate the Forfeiture Guidelines, 12 FCC Rcd 17087 (1997), recon. denied, 15
FCC Rcd 303 (1999).

34. The United States only seeks to enforce the $126,000.00 forfeiture proposed in the
Second NAL on December 19, 2008 and, subsequently, issued in the Forfeiture Order.

WHEREFORE, Plaintiff demands judgment against Defendants, jointly or severally, as
follows:

a. Judgment in the amount of $126,000.00;

b. Interest from the date of judgment at the legal rate in effect on the date of judgment,

pursuant to 28 U.S.C. § 1961.

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c. Costs and disbursements incurred by Plaintiff in this action; and

d. Such other further relief that the Court may deem just and proper.

DATE: December 12, 2012

Respectfully submitted,

DANNY C. WILLIAMS, Sr.

U;i§ States Attorez
/__// / _____-/

Phil Pinnell

Assistant United States Attomey

Oklahoma Bar No. 7169

110 w. 7th st.

Suite 300

Tulsa, Oklahoma 741 19

Telephone: (918) 382-2716

Facsimile: (918) 560-7938

Email:phil.pinnell@usdoj . gov

 

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Federal Communications Commission DA 07-3709

FEDERAL COMMUNICATIONS COMMISSION
WASHINGTON, D.C. 20554

 

August 29, 2007

VIA CERTIFIED MAIL
RETURN RECEIPT REQUESTED

Clean Credit Inc.

Attn: Christopher Parks
5332 S Memorial Dr
Tulsa, Ok 74145

RE: EB-07-TC-13259
Dear Mr. Parks:

This is an official CITATION, issued pursuant to section 503 (b)(5) of the
Communications Act of 1934, as amended (the Act), 47 U.S.C. § 503 (b)(5), for violations of the
Act and the Federal Communications Commission’s rules that govern telephone solicitations and
unsolicited advertisementsl As explained below, future violations of the Act or Commission’s
rules in this regard may subject you and your company to monetary forfeitures

It has come to our attention that your company, acting under your direction, apparently
sent one or more unsolicited advertisements to telephone facsimile machines in violation of
Section 227(b)(1)(C) of the Communications Act, as described in the attached complaint(s). 2
Section 227(b)(1)(C) makes it “unlawii.il for any person within the United States, or any person
outside the United States if the recipient is within the United States . . . to use a telephone
facsimile machine, computer, or other device to send an unsolicited advertisement to a telephone
facsimile machine.” 3 As relevant here, an“‘unsolicited advertisement” is “any material

 

l 47 U.S.C. § 227; 47 C.F.R. § 64.1200. A copy of these provisions is enclosed for your convenience. Section 227

, was added to the Communications Act by the Telephone Consumer Protection Act of 1991 and is most commonly
known as the TCPA. The TCPA and the Commission’s parallel rules restrict a variety of practices that are
associated with telephone solicitation and use of the telephone network to deliver unsolicited advertisements,
including fax advertising We refer in this citation to the Commission’s rules as they existed at the time of the
violations in this matter. Revised rules in this area took effect on August 1, 2006. 47 U.S.C. § 64.1200(a)(3); Rules
and Regulations Implementing the Telephone Consumer Protection Act of 1991 - Junk Fax Protection Act of 2005 ,
Report and Order and Third Order on Reconsideration, 21 FCC Rcd 3787 (2006) (2006 TCPA Report and Order).

2 We have attached 1 complaint at issue in this citation. The complaint address a facsimile advertisement that
contains the telephone number 918-830-1090, which your business utilized during the time period at issue.

3 47 U.S.C. § 227(b)(1)(C); see also 47 C.F.R. § 64.1200(a)(3) (providing that no person or entity may . . . use a
telephone facsimile machine, computer, or other device to send an unsolicited advertisement to a telephone facsimile
machine). Both the TCPA and the Commissio- 'le machine” as “equipment which

   

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, ' Federal Communications Commission DA 07-3709

advertising the commercial availability or quality of any property, goods, or services which is
transmitted to any person without that person’s prior express invitation or permission.”4 Under
Commission rules and orders in effect during the relevant period here, the Commission
considered an established business relationship between a fax sender and recipient to constitute
prior express invitation or permission to send a facsimile advertisements Mere distribution or
pub16ication of a fax number, however, does not establish consent to receive advertisements by
fax.

If, after receipt of this citation. vou or your company violate the Commgnications

Act or the Commission’s rules in any manner described herein, the Commission may
impose monetary forfeitures not to exceed $11.000 for each such violation or each day of a

continuing violation.

You may respond to this citation within 30 days from the date of this letter either through
(1) a personal interview at the Commission’s Field Oftice nearest to your place of business, (2) a
written statement, or (3) a teleconference interview with the Commission’s Telecommunications
Consurners Division in Washington, DC. Your response should specify the actions that you are
taking to ensure that you do not violate the Commission’s rules governing telephone solicitation
and unsolicited advertisements, as described above.

Please contact Delores Browder at (202) 418-2861 to arrange for an interview at the closest
field office, if you wish to schedule a personal interview. You should schedule any
interview to take place within 30 days of the date of this letter. You should send any
written statement within 30 days of the date of this letter to:

Kurt A. Schroeder
Deputy Chief

 

has the capacity to transcribe text or images, or both, n'om paper into an electronic signal and to transmit that signal
over a regular telephone line, or to transcribe text or images (or both) from an electronic signal received over a
regular telephone line onto paper.” 47 U.S.C. § 227(a)(2); 47 C.F.R. § 64.1200(£)(8). The Commission has stated
that “[t]he TCPA’s definition of ‘telephone facsimile machine’ broadly applies to any equipment that has the
capacity to send or receive text or images.” Thus, “faxes sent to personal computers equipped with, or attached to,
modems and to computerized fax servers are subject to the TCPA’s prohibition on unsolicited faxes. . . [although]
the prohibition does not extend to facsimile messages sent as email over the lnternet.” Rules and Regulations
Implementing the Telephone Consumer Protection Act of 1 991 , Report and Order, 18 FCC Rcd 14014, 14131-32
(2003) (2003 TCPA Report and Order).

4 47 U.S.C. § 227(a)(4) (1991); 47 C.F.R. § 64.1200(1)(10) (2003); see 47 U.S.C. § 227 (a)(4) (2005); 47 C.F.R. §
64.1200(£)(13) (2006) (amending the definition of “unsolicited advertisement” to specify that prior express
invitation or permission may be “in writing or otherwise”). '

5 See Rules and Regulations Implemenling the Telephone Consumer Protection Act of 1991 , Memorandum Opinion
and Order, 10 FCC Rcd 12391, 12405 (1995) (1995 TCPA Reconsideration Order). The Iunk Fax Prevention Act
of 2005, Pub. L. 109-21, 119 Stat. 359 (2005), and the Commission’s parallel rules, which took eE`ect August 1,
2006, further specify the conditions under which an established business relationship provides an exception to the
prohibition on unsolicited fax advertising

61995 Reconsideration Order, 10 FCC Rcd at 12408-09; see also 2003 TCPA Report and Order, 18 FCC Rcd at
14128 (concluding that mere publication of a fax number in a trade publication or directory does not demonstrate
consent to receive fax advertising).

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Feder`al Communications Commission DA 07-37 09

 

Telecommunications Consumers Division
Enforcement Bureau

Federal Communications Commission
445-12th Street, S.W., Rm. 4-C222
Washington, D.C. 20554

Reference EB-07-TC-13259 when corresponding with the Commission.

Reasonable accommodations for people with disabilities are available upon request
lnclude a description of the accommodation you will need including as much detail as you can.
Also include a way we can contact you if we need more information. Please allow at least 5 days
advance notice; last minute requests will be accepted, but may be impossible to till. Send an e-
mail to fcc:504@fcc. gov or call the Consumer & Govemmental Affairs Bureau:

For sign language interpreters, CART, and other reasonable accommodations:
202-418-0530 (voice), 202-418-0432 (tty);

For accessible format materials (braille, large print, electronic files, and audio
format): 202-418-0531 (voice), 202-418-7365 (tty).

Under the Privacy Act of 1974, 5 U.S.C. § 552(a)(e)(3), we are informing you that the
Commission’s staff will use all relevant material information before it, including information
that you disclose in your interview or written statement, to determine what, if any, enforcement
action is required to ensure your compliance with the Communications Act and the
Commission’s rules.

The knowing and willful making of any false statement, or the concealment of any
material fact, in reply to this citation is punishable by fine or imprisonment under 18 U.S.C. §

1 001 .
Thank you in advance for your anticipated cooperation
Sincerely,
Kurt A. Schroeder
Deputy Chief, Telecommunications Consumers Division

Enforcement Bureau
Federal Communications Commission

Enclosures

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Federal Communications Commission DA 08-2142

Before the
Federal Communications Commission
Washington, D.C. 20554
In the Matter of
Clean Credit, Inc. File No. EB-07-TC-13259
Apparent Liability for Forfeiture NAL/Acct No. 200832170077

FRN: 0018140178

NOTICE OF APPARENT LIABILITY FOR FORFEITURE
Adopted: September 24, 2008 Released: September 26, 2008
By the Chief, Enforcement Bureau:

I. INTRODUCTION

1. In this Notice of Apparent Liability for Forfeiture (“NAL”)I, we find that Clean Credit,
Inc.2 (“Clean Credit”) apparently willfully or repeatedly violated section 227 of the Communications Act
of 1934, as amended (“Act”), and the Commission’s related rules and orders, by delivering at least three
unsolicited advertisements to the telephone facsimile machines of at least three consumers3 Based on the
facts and circumstances surrounding these apparent violations, we find that Clean Credit is apparently
liable for a forfeiture in the amount of $l3,500.

 

' See 47 U.S.C. § 503(b)(l). The Commission has the authority under this section of the Act to assess a forfeiture
against any person who has “willfully or repeatedly failed to comply with any of the provisions of this Act or of any
rule, regulation, or order issued by the Commission under this Act ....” See also 47 U.S.C. § 503(b)(5) (stating that
the Corrunission has the authority under this section of the Act to assess a forfeiture penalty against any person who
does not hold a license, permit, certificate or other authorization issued by the Commission or an applicant for any of
those listed instrumentalities so long as such person (A) is first issued a citation of the violation charged; (B) is

given a reasonable opportunity for a personal interview with an official of the Commission, at the field office of the
Commission nearest to the person’s place of residence; and (C) subsequently engages in conduct of the type
described in the citation).

2 Clean Credit has offices at 5332 S. Memorial Drive, Suite 100, Tulsa, OK 74145. Christopher Parks is listed as the
President of Clean Credit as well as the Registered Agent. Amos Baker is listed as the contact person for Clean
Credit. Accordingly, all references in this NAL to “Clean Credit” also encompass the foregoing individuals and all
other principals and officers of this entity, as well as the corporate entity itself.

3 See 47 U.S.C. § 227(b)(1)(C); 47 C.F.R. § 64.1200(a)(3); see also Rules and Regulations Implementing the
Telephone Consumer Protection Act of 1991, Report and Order and Third Order on Reconsideration, 21 FCC Rcd
3787 (2006).

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Federal Communications Commission DA 08-2142

II. BACKGROUND

2. Section 227(b)(1)(C) of the Act makes it “unlawful for any person within the United
States, or any person outside the United States if the recipient is within the United States . . . to use any
telephone facsimile machine, computer, or other device to send, to a telephone facsimile machine, an
unsolicited advertisement”4 The term “unsolicited advertisement” is defined in the Act and the
Commission’s rules as “any material advertising the commercial availability or quality of any property,
goods, or services which is transmitted to any person without that person’s prior express invitation or
permission in writing or otherwise.”5 Under the Commission’s rules, an “established business
relationship”6 exception permits a party to deliver a message to a consumer if the sender has an
established business relationship with the recipient and the sender obtained the number of the facsimile
machine through the voluntary communication by the recipient, directly to the sender, within the context
of the established business relationship, or through a directory, advertisement, or a site on the Intemet to
which the recipient voluntarily agreed to make available its facsimile number for public distribution7

3. On August 29, 2007, in response to one or more consumer complaints alleging that Clean
Credit had faxed unsolicited advertisements, the Enforcement Bureau (“Bureau”) issued a citations to
Clean Credit, pursuant to section 503(b)(5) of the Act,9 The Bureau cited Clean Credit for using a
telephone facsimile machine, computer, or other device, to send unsolicited advertisements for unsecured
lines of credit to a telephone facsimile machine, in violation of section 227 of the Act and the
Commission’s related rules and orders. The citation warned Clean Credit that subsequent violations
could result in the imposition of monetary forfeitures of up to $1 1,000 per violation, and included a copy
of the consumer complaints that formed the basis of the citation.'° The citation informed Clean Credit
that within thirty (30) days of the date of the citation, it could either request an interview with
Commission staff, or could provide a written statement responding to the citation. Clean Credit did not
request an interview or otherwise respond to the citation.

4. Despite the citation’s warning that subsequent violations could result in the imposition of
monetary forfeitures, we have received additional consumer complaints indicating that Clean Credit
continued to engage in such conduct after issuance of the citation.ll We base our action here specifically

 

“ 47 u.s.c. § 227(b)(1)(c); 47 c.F.R. § 64.1200(a)(3).
5 47 U.s.c. § 227(a)(4); 47 c.F.R. § 64.1200(0(13).

6 An “established business relationship” is defined as a prior or existing relationship formed by a voluntary two-way
communication “with or without an exchange of consideration, on the basis of an inquiry, application, purchase or
transaction by the business or residential subscriber regarding products or services offered by such person or entity,
which relationship has not been previously terminated by either party.” 47 C.F.R. § 64.1200(f)(5).

7 See 47 U.S.C. § 227(b)(1)(C); 47 C.F.R. § 64(a)(3)(i), (ii).
8 Citation from Kurt A. Schroeder, Deputy Chief, Te|ecommunications Consumers Division, Enforcement Bureau,
File No.EB-07-TC-l3259, issued to Clean Credit on August 29, 2007,

9 See 47 U.S.C. § 503(b)(5) (authorizing the Commission to issue citations to persons who do not hold a license,
permit, certificate or other authorization issued by the Commission or an applicant for any of those listed
instrumentalities for violations of the Act or of the Commission’s rules and orders).

'° Bureau staff mailed the citation to the following address: Clean Credit, Inc., Attn: Christopher Parks, 5332 S.
Memorial Drive, #100, Tulsa, OK 74145. See n.2, supra.

n See Appendix for a listing of the consumer complaints against Clean Credit requesting Commission action.

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Federal Communications Commission DA 08-2142

on three complaints filed by three consumers establishing that Clean Credit continued to send unsolicited
advertisements to telephone facsimile machines after the date of the citation.12

5. Section 503(b) of the Act authorizes the Commission to assess a forfeiture for each
violation of the Act or of any rule, regulation, or order issued by the Commission under the Act by a non-
common carrier or other entity not specifically designated in section 503 of the Act. The maximum
penalty for such a violation is $1 1,000 for a violation occurring before September 2, 2008, and $16,000
for a violation occurring on or alier September 2, 2008.13 In exercising such authority, we are to take into
account “the nature, circumstances, extent, and gravity of the violation and, with respect to the violator,
the degree of culpability, any history of prior offenses, ability to pay, and such other matters as justice
may require.”l

III. DISCUSSION

A. Violations of the Commission’s Rules Restricting Unsolicited Facsimile
Advertisements

6. We find that Clean Credit apparently violated section 227 of the Act and the
Commission’s related rules and orders by using a telephone facsimile machine, computer, or other device
to send at least three unsolicited advertisements to the consumers identified in the Appendix. This NAL
is based on evidence that the consumers received unsolicited fax advertisements from Clean Credit after
the Commission’s citation. The facsimile transmission advertised unsecured lines of credit. Further,
according to the complaints, the consumers neither had an established business relationship with Clean
Credit nor gave Clean Credit permission to send the facsimile transmissions.'5 The faxes at issue here
therefore fall within the definition of an “unsolicited advertisement”16 Based on the entire record,
including the three consumer complaints, we conclude that Clean Credit apparently violated section 227
of the Act and the Commission’s related rules and orders by sending three unsolicited advertisements to
three consumers’ facsimile machines

 

12 We note that evidence of additional instances of unlawful conduct by Clean Credit may form the basis of
subsequent enforcement action.

13Section 503(b)(2)(C) provides for forfeitures up to $10,000 for each violation in cases not covered by
subparagraph (A) or (B), which address forfeitures for violations by licensees and common carriers, among others.
See 47 U.S.C. § 503(b). In accordance with the inflation adjustment requirements contained in the Debt Collection
Improvement Act of 1996, Pub. L. 104-134, Sec. 31001, 110 Stat. 1321, the Commission implemented an increase
of the maximum statutory forfeiture under section 503(b)(2)(C) first to $11,000 and more recently to $16,000. See
47 C.F.R. §l.80(b)(3); Amendment of Section 1.80 of the Commission ’s Rules and Adjustment of F o)feiture Maxima
to Reflect Inflation, 15 FCC Rcd 18221 (2000) (forfeiture maximum for this type of violator set at $l 1,000);
Amendment of Section 1.80(b) of the Commission ’s Rules and Ad]`ustment of F orfeiture Maxima to Reflect Inflati'on,
19 FCC Rcd 10945 (2004) (amendment of section 1.80(b) to reflect inflation left the forfeiture maximum for this
type of violator at $l 1,000); Amendment of Section 1.80(b) of the Commission ’s Rules, Adjustment of Forfeiture
Maxima to Rejlect Inflation, 23 FCC Rcd 9845 (2008) (amendment of section 1.80(b) to reflect inflation increased
the forfeiture maximum for this type of violator at $16,000).

'4 47 U.S.C. § 503(b)(2)(D); The Commission 's Forfeiture Policy Statemenl and Amendment of Section ].80 of the
Rules to Incorporate the Fo)feiture Guidelines, Report and Order, 12 FCC Rcd 17087, 17100-01 para. 27 (1997)
(Fo)feilure Policy Statement), recon. denied, 15 FCC Rcd 303 (1999).

'5 See, e.g., complaint dated October 2, 2007, from Trevor Marvin (stating that he has never done business with the
fax advertiser, never made an inquiry or application to the fax advertiser and never given permission for the fax
advertiser to fax an advertisement to him). The complainants involved in this action are listed in the Appendix.

'6 See 47 U.S.C. § 227(a)(4); 47 C.F.R. § 64.1200(1)(13) (definition previously at § 64.1200(f)(10)).

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Federal Communications Commission DA 08-2142
B. Proposed Forfeiture
7. We find that Clean Credit is apparently liable for a forfeiture in the amount of $l3,500.

Although the Commission ’s Forfeiture Policy Statemenr does not establish a base forfeiture amount for
violating the prohibition against using a telephone facsimile machine to send unsolicited advertisements,
the Commission has previously considered $4,500 per unsolicited fax advertisement to be an appropriate
base amount.17 We apply that base amount to the three apparent violations. Thus, a total forfeiture of
$13,500 is proposed. Clean Credit will have the opportunity to submit evidence and arguments in
respons;: ltp this NAL to show that no forfeiture should be imposed or that some lesser amount should be
assesse .

IV. CONCLUSION AND ORDERING CLAUSES

8. We have determined that Clean Credit, Inc. apparently violated section 227 of the Act
and the Commission’s related rules and orders by using a telephone facsimile machine, computer, or other
device to send at least three unsolicited advertisements to the three consumers identified in the Appendix.
We have further determined that Clean Credit, Inc. is apparently liable for a forfeiture in the amount of
$13,500.

9. Accordingly, IT IS ORDERED, pursuant to section 503(b) of the Act, 47 U.S.C. §
503(b), and section 1.80 of the rules, 47 C.F.R. § 1.80, and under the authority delegated by sections
0.111 and 0.311 of the Commission’s rules, 47 C.F.R. §§ 0.111, 0.311, that Clean Credit, Inc. is hereby
NOTIFIED of this APPARENT LIABILITY FOR A FORFEITURE in the amount of $13,500 for willful
or repeated violations of section 227(b)(1)(C) of the Communications Act, 47 U.S.C. § 227(b)(1)(C),
sections 64.1200(a)(3) of the Commission’s rules, 47 C.F.R. § 64.1200(a)(3), and the related orders
described in the paragraphs above.

10. IT IS FURTHER ORDERED THAT, pursuant to section 1.80 of the Commission’s
rules,19 within thirty (30) days of the release date of this Notice of Apparent Liability for Forfeiture, Clean
Credit, Inc. SHALL PAY the full amount of the proposed forfeiture or SHALL FILE a written statement
seeking reduction or cancellation of the proposed forfeiture.

1 l. Payment of the forfeiture must be made by check or similar instrument, payable to the
order of the Federal Communications Commission. The payment must include the NAL/Account
Number and FRN Number referenced above. Payment by check or money order may be mailed to
Federal Communications Commission, P.O. Box 979088, St. Louis, MO 63197-9000. Payment by
overnight mail may be sent to U.S. Bank - Government Lockbox #979088, SL-MO-CZ-GL, 1005
Convention Plaza, St. Louis, MO 63101. Payment by wire transfer may be made to ABA Number
021030004, receiving bank TREAS/NYC, and account number 27000001. For payment by credit card,
an FCC Form 159 (Remittance Advice) must be submitted When completing the FCC Form 159, enter
the NAL/Account number iri block number 23A (call sign/other lD), and enter the letters “FORF” in
block number 24A (payment type code). Clean Credit, Inc. will also send electronic notification on the

 

'7 See Get-Aways, Inc., Notice of Apparent Liability For Forfeiture, 15 FCC Rcd 1805 (1999); Get-Aways, Inc.,
Forfeiture Order, 15 FCC Rcd 4843 (2000); see also US Notary, Inc., Notice of Apparent Liability for Forfeiture, 15
Rcd 16999 (2000),' US Nota)jy, Inc., Forfeiture Order, 16 FCC Rcd 18398 (2001); Tri-Star Markeling, Inc., Notice
of Apparent Liability For Forfeiture, 15 FCC Rcd 11295 (2000); Tri-Star Marketing, Inc., Forfeiture Order, 15 FCC
Rcd 23198 (2000).

‘8 see 47 U.s.c. § 503(b)(4)(c); 47 c.F.R. § 1.80(1)(3).
'° 47 C.F,R. § 1.80.

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date said payment is made to lohnny.drake§a;fcc.gov. Requests for full payment under an installment
plan should be sent to: Chief Financial Officer -- Financial Operations, 445 12th Street, S.W., Room l-
A625, Washington, D.C. 20554, Please contact the Financial Operations Group Help Desk at 1-877-
480-3201 or Email: ARlN§ QUIRIES@fcc.gov with any questions regarding payment procedures

12. The response, if any, must be mailed both to the Office of the Secretary, Federal
Communications Commission, 445 12th Street, SW, Washington, DC 20554, ATTN: Enforcement
Bureau - Telecommunications Consumers Division, and to Colleen Heitkamp, Chief,
Telecommunications Consumers Division, Enforcement Bureau, F ederal Communications Commission,
445 12th Street, SW, Washington, DC 20554, and must include the NAL/Acct. No. referenced in the
caption

l3. The Commission will not consider reducing or canceling a forfeiture in response to a
claim of inability to pay unless the petitioner submits: (1) federal tax returns for the most recent three-
year period; (2) financial statements prepared according to generally accepted accounting practices; or (3)
some other reliable and objective documentation that accurately reflects the petitioner’s current financial
status. Any claim of inability to pay must specifically identify the basis for the claim by reference to the
financial documentation submitted

14. IT IS FURTHER ORDERED that a copy of this Notice of Apparent Liability for
Forfeiture shall be sent by Certified Mail Return Receipt Requested and First Class Mail to Clean Credit,
Inc., Attention: Christopher Parks, President, Amos Baker, Contact, 5332 S. Memorial Drive, Suite 100,
Tulsa, OK 74145.

FEDERAL COMMUNICATIONS COMMISSION

Kris Anne Monteith
Chief, Enforcement Bureau

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APPENDIX

Complainants and Violation Dates

 

 

 

 

Complainant received facsimile solicitations Violation Date(s)
Trevor Marvin 10/2/07

Brent Swenson 10/6/07

Matthew Zeidman 10/25/07

 

 

 

 

 

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Federal Communications Commission FCC 08-274

Before the
Federal Communications Commission
Washington, D.C. 20554

In the Matter of

Clean Credit, Inc. File No. EB-07-TC-13259

NAL/Acct No. 20093217009

)
)
)
)
Apparent Liability for Forfeiture )
)
)

FRN: 0018140178

NOTICE OF APPARENT LIABILITY FOR FORFEITURE
Adopted: December 19, 2008 Released: December 19, 2008
By the Commission:

I. INTRODUCTION

l. In this Notice of Apparent Liability for Forfeiture (“NAL”)I, we find that Clean Credit,
Inc.2 (“Clean Credit”) apparently willfully or repeatedly violated section 227 of the Communications Act
of 1934, as amended (“Act”), and the Commission’s related rules and orders, by delivering at least
twenty-eight unsolicited advertisements to the telephone facsimile machines of at least twenty-six
consumers.3 Based on the facts and circumstances surrounding these apparent violations, we find that
Clean Credit is apparently liable for a forfeiture in the amount of 8126,000.

II. BACKGROUND

2. Section 227(b)(1)(C) of the Act makes it “unlawful for any person within the United
States, or any person outside the United States if the recipient is within the United States . . . to use any
telephone facsimile machine, computer, or other device to send, to a telephone facsimile machine, an

 

' See 47 U.S.C. § 503(b)(l). The Commission has the authority under this section of the Act to assess a forfeiture
against any person who has “willfully or repeatedly failed to comply with any of the provisions of this Act or of any
rule, regulation, or order issued by the Commission under this Act ....” See also 47 U.S.C. § 503(b)(5) (stating that
the Commission has the authority under this section of the Act to assess a forfeiture penalty against any person who
does not hold a license, permit, certificate or other authorization issued by the Commission or an applicant for any of
those listed instrumentalities so long as such person (A) is first issued a citation of the violation charged; (B) is

given a reasonable opportunity for a personal interview with an official of the Commission, at the field office of the
Commission nearest to the person’s place of residence; and (C) subsequently engages in conduct of the type
described in the citation).

2 Clean Credit has offices at 5332 S. Memorial Drive, Suite 100, Tulsa, OK 74145. Christopher Parks is listed as the
President of Clean Credit as well as the Registered Agent. Amos Baker is listed as the contact person for Clean
Credit. Accordingly, all references in this NAL to “Clean Credit” also encompass the foregoing individuals and all
other principals and officers of this entity, as well as the corporate entity itself.

3 See 47 U.S.C. § 227(b)(1)(C); 47 C.F.R. § 64.1200(a)(3); see also Rules and Regulations Implementing the
Telephone Consumer Protection Act of l 991, Report and Order and Third Order on Reconsideration, 21 FCC Rcd
3787 (2006).

PLA|NT|FF’S
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unsolicited advertisement”4 The term “unsolicited advertisement” is defined in the Act and the
Commission’s rules as “any material advertising the commercial availability or quality of any property,
goods, or services which is transmitted to any person without that person’ s prior express invitation or
permission in Writing or otherwise. ”5 Under the Commission’ s rules, an “established business
relationship”6 exception permits a party to deliver a message to a consumer if the sender has an
established business relationship with the recipient and the sender obtained the number of the facsimile
machine through the voluntary communication by the recipient, directly to the sender, within the context
of the established business relationship, or through a directory, advertisement, or a site on the Internet to
which the recipient voluntarily agreed to make available its facsimile number for public distribution7

3. On August 29, 2007, in response to one or more consumer complaints alleging that Clean
Credit had faxed unsolicited advertisements, the Enforcement Bureau (“Bureau’ ’) issued a citation8 to
Clean Credit, pursuant to section 503(b)(5) of the Act,9 The Bureau cited Clean Credit for using a
telephone facsimile machine, computer, or other device, to send unsolicited advertisements for unsecured
lines of credit to a telephone facsimile machine, in violation of section 227 of the Act and the
Commission’ s related rules and orders. The citation warned Clean Credit that subsequent violations
could result in the imposition of monetary forfeitures of up to $l 1,000 per violation, and included a copy
of the consumer complaints that formed the basis of the citation 0The citation informed Clean Credit
that within thirty (30) days of the date of the citation, it could either request an interview with
Commission staff, or could provide a written statement responding to the citation Clean Credit did not
request an interview or otherwise respond to the citation.

4. Despite the citation’ s warning that subsequent violations could result in the imposition of
monetary forfeitures, we have received additional consumer complaints indicating that Clean Credit
continued to engage in such conduct after issuance of the citation, 2We base our action here specifically

 

4 47 U.s.c. § 227(b)(1)(C); 47 C.F.R. § 64.1200(a)(3).
5 47 U.s.c. § 227(a)(4); 47 C.F.R. § 64.1200(0(13). .

6 An “established business relationship” is defined as a prior or existing relationship formed by a voluntary two-way
communication “with or without an exchange of consideration, on the basis of an inquiry, application, purchase or
transaction by the business or residential subscriber regarding products or services offered by such person or entity,
which relationship has not been previously terminated by either party. ” 47 C. F. R. § 64 l200(f)(5).

7 see 47 U.s.c. § 227(b)(1)(c); 47 c.F.R. § 64(a)(3)(i), (11).

8 Citation from Kurt A. Schroeder, Deputy Chief, Telecommunications Consumers Division, Enforcement Bureau,
File No.EB-07-TC-l 3259, issued to Clean Credit on August 29, 2007.

9 See 47 U.S.C. § 503(b)(5) (authorizing the Commission to issue citations to persons who do not hold a license,
permit, certificate or other authorization issued by the Commission or an applicant for any of those listed
instrumentalities for violations of the Act or of the Commission’s rules and orders).

l° Bureau staff mailed the citation to the following address: Clean Credit, Inc., Attn: Christopher Parks, 5332 S.
Memorial Drive, #100, Tulsa, OK 74145 See n. 2, supra

" Following the issuance of the citation, the Commission continued to receive complaints from consumers alleging
that Clean Credit faxed unsolicited advertisements to them These violations, occurring alier the Commission’ s
citation, resulted in the issuance of a Notice of Apparent Liability for Forfeiture against Clean Credit on September
26, 2008, in the amount of $13,500. Clean Credit, Inc., Notice of Apparent Liability for Forfeiture, DA 08-2142
(Enf. Bur. September 26, 2008).

'2 See Appendix for a listing of the consumer complaints against Clean Credit requesting Commission action.

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on complaints filed by twenty-six consumers establishing that Clean Credit continued to send unsolicited
advertisements to telephone facsimile machines after the date of the citation.13

5. Section 503(b) of the Act authorizes the Commission to assess a forfeiture for each
violation of the Act or of any rule, regulation, or order issued by the Commission under the Act by a non-
common carrier or other entity not specifically designated in section 503 of the Act, The maximum
penalty for such a violation is $11,000 for a violation occuning before September 2, 2008, and $16,000
for a violation occurring on or after September 2, 2008.14 In exercising such authority, we are to take into
account “the nature, circumstances, extent, and gravity of the violation and, with respect to the violator,
the degree of culpability, any history of prior offenses, ability to pay, and such other matters as justice
may require.”15

III. DISCUSSION

A. Violations of the Commission’s Rules Restricting Unsolicited Facsimile
Advertisements

6. We find that Clean Credit apparently violated section 227 of the Act and the
Commission’s related rules and orders by using a telephone facsimile machine, computer, or other device
to send at least twenty-eight unsolicited advertisements to the consumers identified in the Appendix. This
NAL is based on evidence that the consumers received unsolicited fax advertisements from Clean Credit
after the Commission’s citation. The facsimile transmission advertised unsecured lines of credit. Further,
according to the complaints, the consumers neither had an established business relationship with Clean
Credit nor gave Clean Credit permission to send the facsimile transmissions16 The faxes at issue here
therefore fall within the definition of an “unsolicited advertisement”l7 Based on the entire record,
including the twenty-six consumer complaints, we conclude that Clean Credit apparently violated section
227 of the Act and the Commission’s related rules and orders by sending twenty-eight unsolicited
advertisements to twenty-six consumers’ facsimile machines

 

13 We note that evidence of additional instances of unlawful conduct by Clean Credit may form the basis of
subsequent enforcement action.

14Section 503(b)(2)(C) provides for forfeitures up to 810,000 for each violation in cases not covered by
subparagraph (A) or (B), which address forfeitures for violations by licensees and common carriers, among others.
See 47 U.S.C. § 503(b). In accordance with the inflation adjustment requirements contained in the Debt Collection
Improvement Act of 1996, Pub. L. 104-134, Sec. 31001, 110 Stat. 1321, the Commission implemented an increase
of the maximum statutory forfeiture under section 503(b)(2)(C) first to $11,000 and more recently to $16,000. See
47 C.F.R. §l.80(b)(3); Amendment of Section ].80 of the Commission ’s Rules and Adjustment of Forfeiture Maxima
to Reflect Inj'lati`on, 15 FCC Rcd 18221 (2000) (forfeiture maximum for this type of violator set at $1 1,000);
Amendmenl of Section 1.80(b) of the Commission 's Rules and Adjustment of F orfeiture Maxima to Reflect lnflalion,
19 FCC Rcd 10945 (2004) (amendment of section 1.80(b) to reflect inflation left the forfeiture maximum for this
type of violator at $l 1,000); Amendment of Section 1.80(b) of the Commission ’s Rules, Adjustment of F orfeiture
Maxima to Reflect In/lalion, 23 FCC Rcd 9845 (2008) (amendment of section 1.80(b) to reflect inflation increased
the forfeiture maximum for this type of violator at $16,000).

15 47 U.S.C. § 503(b)(2)(D); The Commission ’s Forfeiture Policy Slalement and Amendment of Section 1.80 of the
Rules to Incorporate the Forfeiture Guidelines, Report and Order, 12 FCC Rcd 17087, 17100-01 para. 27 (1997)
(Fo)feilure Policy Statement), recon. denied, 15 FCC Rcd 303 (1999).

16 See, e.g., complaint dated January 7, 2008, from Rick Austin (stating that he has never done business with the fax
advertiser, never made an inquiry or application to the fax advertiser and never given permission for the fax
advertiser to fax an advertisement to him). The complainants involved in this action are listed in the Appendix.

17 See 47 U.S.C. § 227(a)(4); 47 C.F.R. § 64.1200(f)(l3) (definition previously at § 64.1200(f)(10)).

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B. Proposed Forfeiture

7. We find that Clean Credit is apparently liable for a forfeiture in the amount of 8126,000.
Although the Commission ’s Forfeiture Policy Statement does not establish a base forfeiture amount for
violating the prohibition against using a telephone facsimile machine to send unsolicited advertisements,
the Commission has previously considered $4,500 per unsolicited fax advertisement to be an appropriate
base amount.'8 We apply that base amount to the twenty-eight apparent violations. Thus, a total
forfeiture of 8126,000 is proposed. Clean Credit will have the opportunity to submit evidence and
arguments in response to this NAL to show that no forfeiture should be imposed or that some lesser
amount should be assessed.19

IV. CONCLUSION AND ORDERING CLAUSES

8. We have determined that Clean Credit, Inc. apparently violated section 227 of the Act
and the Commission’s related rules and orders by using a telephone facsimile machine, computer, or other
device to send at least twenty-eight unsolicited advertisements to the twenty-six consumers identified in
the Appendix. We have further determined that Clean Credit, Inc. is apparently liable for a forfeiture in
the amount of 8126,000.

9. Accordingly, IT IS ORDERED, pursuant to section 503(b) of the Act, 47 U.S.C.
§ 503(b), and section 1.80 of the rules, 47 C.F.R. § 1.80, that Clean Credit, Inc. is hereby NOTIFIED of
this APPARENT LIABILITY FOR A FORFEITURE in the amount of $126,000 for willful or repeated
violations of section 227(b)(1)(C) of the Communications Act, 47 U.S.C. § 227(b)(1)(C), sections
64.1200(a)(3) of the Commission’s rules, 47 C.F.R. § 64.1200(a)(3), and the related orders described in
the paragraphs above.

10. IT IS FURTHER ORDERED THAT, pursuant to section 1.80 of the Commission’s
rules,20 within thirty (30) days of the release date of this Notice of Apparent Liability for Forfeiture, Clean
Credit, Inc. SHALL PAY the full amount of the proposed forfeiture or SHALL FILE a written statement
seeking reduction or cancellation of the proposed forfeiture

11. Payment of the forfeiture must be made by check or similar instrument, payable to the
order of the Federal Communications Commission. The payment must include the NAL/Account
Number and FRN Number referenced above. Payment by check or money order may be mailed to
Federal Communications Commission, P.O. Box 979088, St. Louis, MO 63197-9000. Payment by
overnight mail may be sent to U.S. Bank - Government Lockbox #979088, SL-MO-CZ-GL, 1005
Convention Plaza, St. Louis, MO 63101. Payment by wire transfer may be made to ABA Number
021030004, receiving bank TREAS/NYC, and account number 27000001. For payment by credit card,
an FCC Form 159 (Remittance Advice) must be submitted, When completing the FCC Form 159, enter
the NAL/Account number in block number 23A (call sign/other ID), and enter the letters “FORF” in
block number 24A (payment type code). Clean Credit, Inc. will also send electronic notification on the
date said payment is made to Johnny.drake@fcc.gov. Requests for full payment under an installment
plan should be sent to: Chief Financial Officer -- Financial Operations, 445 12th Street, S.W., Room 1-

 

18 See Get-Aways, Inc., Notice of Apparent Liability For Forfeiture, 15 FCC Rcd 1805 (1999); Gel-Aways, Inc.,
Forfeiture Order, 15 FCC Rcd 4843 (2000); see also US Nolary, Inc., Notice of Apparent Liability for Forfeiture, 15
Rcd 16999 (2000); US Notary, Inc., Forfeiture Order, 16 FCC Rcd 18398 (2001); Tri-Star Markeling, Inc., Notice
of Apparent Liability For Forfeiture, 15 FCC Rcd 11295 (2000); Trz`-Star Markeli`ng, Inc., Forfeiture Order, 15 FCC
Rcd 23198 (2000).

'9 see 47 U.s.c. § 503(b)(4)(c:); 47 c.F.R. § 1.80(1)(3).
2° 47 c.F.R. § 1.80.

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Federal Communications Commission FCC 08-274

 

A625, Washington, D.C. 20554, Please contact the Financial Operations Group Help Desk at 1-877-
480-3201 or Email: ARINQUIRIES@fcc.gov with any questions regarding payment procedures.

12. The response, if any, must be mailed both to the Office of the Secretary, Federal
Communications Commission, 445 12th Street, SW, Washington, DC 20554, AT'I'N: Enforcement
Bureau - Telecommunications Consumers Division, and to Colleen Heitkamp, Chief,
Telecommunications Consumers Division, Enforcement Bureau, Federal Communications Commission,
445 12th Street, SW, Washington, DC 20554, and must include the NAL/Acct. No. referenced in the
caption.

13. The Commission will not consider reducing or canceling a forfeiture in response to a
claim of inability to pay unless the petitioner submits: (l) federal tax returns for the most recent three-
year period; (2) financial statements prepared according to generally accepted accounting practices; or (3)
some other reliable and objective documentation that accurately reflects the petitioner’s current financial
status. Any claim of inability to pay must specifically identify the basis for the claim by reference to the
financial documentation submitted

14. IT IS FURTHER ORDERED that a copy of this Notice of Apparent Liability for
Forfeiture shall be sent by Certified Mail Return Receipt Requested and First Class Mail to Clean Credit,
Inc., Attention: Christopher Parks, President, Amos Baker, Contact, 53 32 S. Memorial Drive, Suite 100,
Tulsa, OK 74145.

FEDERAL COMMUNICATIONS COMMISSION

Marlene H. Dortch
Secretary

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Federal Communications Commission

FCC 08-274

 

APPENDIX

Complainants and Violation Dates

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Complainant received facsimile solicitations Violation Date(s)
Gerri Andreas 12/21/07

Rick Austin 1/7/08

Patrick Bums 12/24/07

Luis Cuevas 1/9/08

Karen Dooney 3/24/08

Jan Driessnack 1/28/08

Ann Eder 1/29/08, 3/11/08
Anne Flanagan 1/27/08, 2/27/08
Donna Flaten 1/10/08

Mary Frank 2/2/08

Scott Hillabrand 12/28/07

Trevor Marvin 1/29/08

Ken Meyer 1/21/08

James Michalik 1/14/08

John Miller 1/10/08

Dan Morris 1/2/08

Terry Ruby 2/19/08

Marti Scott 2/6/08

Jhuvette Seals 3/3/08

William Seeley 2/6/08

Connie Stinnett 2/26/08

Judy Taylor 1/10/08

Sandra Turner 4/1/08

Dennis Vincent 12/28/07

Gary Whitrnire l/18/08

Anne Wilson 2/25/08

 

 

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Federal Communications Commission FCC 10-165

Before the
Federal Communications Commission
Washington, D.C. 20554

In the Matter of § File No. EB-07-TC-l3259
Clean Credit, Inc. § NAL/Acct. Nos. 200832170077 and

) 20093217009

) FRN: 0018140178

FORFEITURE ORDER
Adopted: September 16, 2010 Released: September 28, 2010
By the Commission:
I. INTRODUCTION
1. In this Forfeiture Order (“Order”), we issue a monetary forfeiture in the amount of

$139,500 against Clean Credit, Inc. (“Clean Credit”) for willful and repeated violations of section 227 of
the Connnunications Act of 1934, as amended (“Act”),l and the Commission’s related rules and orders,2
by delivering at least 3 lunsolicited advertisements, or “junk faxes,” to the telephone facsimile machines
of at least 29 consumers

Il. BACKGROUND

2. This Forfeiture Order arises from two distinct Notices of Apparent Liability for
Forfeiture3 that were issued against Clean Credit. The facts and circumstances surrounding these cases
are set forth in the NALs and need not be reiterated at length.

3. The Telephone Consumer Protection Act of 1991 (TCPA) was enacted by Congress to
address problems of abusive telemarketing, in particular junk faxes.4 As Congress recognized, unsolicited
faxes ofien impose unwanted burdens on the called party, including costs of paper and ink, and making
fax machines unavailable for legitimate business messages5 Section 227(b)(1)(C) of the Act makes it
“unlawful for any person within the United States, or any person outside the United States if the recipient
is within the United States . . . to use any telephone facsimile machine, computer, or other device to send,

 

' 47 U.s.C. § 227.
2 see also 47 U.s.c. § 503(b)(l).

3 Clean Credit, Inc. Notice of Apparent Liability for Forfeiture, 23 FCC Rcd 13866 (Enf. Bur.2008) (“NAL l”);
Clean Credit, Inc. Notice of Apparent Liability for Forfeiture, 23 FCC Rcd 18506 (2008) ( “NAL 2”) (collectively
“NALs”).

4 Telephone Consumer Protection Act of 1991, Pub. L. No. 102-243, 105 Stat. 2394, codified at 47 U.S.C. § 227.
See also Junk Fax Prevention Act of 2005, Pub. L. No. 109-21, 119 Stat. 359 (2005).

5 See, e.g., S. Rep. No. 1462, 102d Cong., lsl Sess. 2 (1991); H. Rep. No. 102-317, 102d Congress, ls' Sess. 10
(1991).

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to a telephone facsimile machine, an unsolicited advertisement” unless the sender has an established
business relationship with the recipient,6

4. As the NALs discuss, the Enforcement Bureau issued a junk fax citation7 to Clean Credit
on August 29, 2007, in response to one or more consumer complaints alleging that Clean Credit had faxed
unsolicited advertisements Clean Credit did not respond to this citation. Subsequently, the Commission
received numerous additional complaints from consumers alleging that Clean Credit had faxed unsolicited
advertisements to them. These violations, which occurred after the Bureau’s citation, resulted in the
issuance of two Notices of Apparent Liability for Forfeiture against Clean Credit: on September 26, 2008,
in the amount of $13,500, and on December 19, 2008, in the amount of 8126,000.3 In total, the NALs
cited Clean Credit for sending 31 unlawful, unsolicited fax advertisements to 29 consumers The NALs
ordered Clean Credit either to pay the proposed forfeiture amounts within thirty (30) days or to submit
evidence or arguments to show that no forfeitures should be imposed or that some lesser amounts should
be assessed

III. DISCUSSION

5. As with the citation, Clean Credit did not respond to the NALs. Accordingly, we affirm
our findings that Clean Credit violated the Act and our rules on 31 separate occasions Since we have no
evidence to suggest that the proposed forfeiture should be reduced or cancelled, we hereby impose a total
forfeiture of $139,500 for Clean Credit’s willful or repeated violation of section 227 of the Act and the
Connnission’s related rules and orders, as set forth in the NALs.

IV. ORDERING CLAUSES

6. Accordingly, IT IS ORDERED, pursuant to section 503(b) of the Communications Act of
1934, as amended, 47 U.S.C. § 503(b), and section 1.80(f)(4) of the Commission’s rules, 47 C.F.R. §
1.80(f)(4), that Clean Credit, Inc. IS LIABLE FOR A MONETARY FORFEITURE to the United States
Govemment in the sum of $l39,500 for willfully and repeatedly violating section 227(b)(1)(c) of the
Communications Act, 47 U.S.C. § 227(b)(1)(c), section 64.1200(a)(3) of the Commission’s rules, 47
C.F.R. § 64.1200(a)(3), and the related orders as described in the paragraphs above.

7. Payment of the forfeiture shall be made in the manner provided for in section 1.80 of the
Commission’s rules within thirty (30) days of the release of this Order. If the forfeiture is not paid within
the period specified, the case may be referred to the Department of Justice for collection pursuant to
section 504(a) of the Act,9 Payment of the forfeiture must be made by check or similar instrument,
payable to the order of the Federal Communications Commission. The payment must include the
NAL/Account Number and FRN Number referenced above. Payment by check or money order may be
mailed to Federal Communications Commission, P.O. Box 979088, St. Louis, MO 63197-9000. Payment
by overnight mail may be sent to U.S. Bank - Govemment Lockbox #979088, SL-MO-CZ-GL, 1005
Convention Plaza, St. Louis, MO 63101. Payment by wire transfer may be made to ABA Number
021030004, receiving bank TREAS/NYC, and account number 27000001. For payment by credit card,
an FCC Form 159 (Remittance Advice) must be submitted When completing the FCC Form 159, enter
the NAL/Account number in block number 23A (call sign/other lD), and enter the letters “FORF” in

 

6 47 U.S.C. § 227(b)(1)(C); 47 C.F.R. § 64.1200(a)(3).

7 Citation from Kurt A. Schroeder, Deputy Chief, Telecommunications Consumers Division, Enforcement Bureau,
File No. EB-07-TC-13259, issued to Clean Credit on August 29, 2007. For further details, see NAL 2, 23 FCC Rcd at
18507, para. 3.

s See n.3, supra,' see also 47 U.S.C. § 503(b)(l).
9 47 u.s.c. § 504(a).

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block number 24A (payment type code). Clean Credit, Inc. will also send electronic notification on the
date said payment is made to Johnnv.Drake€i`/:fcc.gov. Requests for full payment under an installment
plan should be sent to: Chief Financial Officer -- Financial Operations, 445 12th Street, S.W., Room 1-
A625, Washington, D.C. 20554. Please contact the Financial Operations Group Help Desk at 1-877-
480-3201 or Email: ARINQUIRIES(&)fcc.gov with any questions regarding payment procedures

8. IT IS FURTHER ORDERED that a copy of the Forfeiture Order shall be sent by First
Class Mail and Certified Mail Return Receipt Requested to Clean Credit, Inc., Attn: Christopher Parks,
5332 S. Memorial Drive, #100, Tulsa, OK 74145.

FEDERAL COMMUNICATIONS COMMISSION

Marlene H. Dortch
Secretary

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FEDERAL COMMUNICATIONS COMlVlISSION
OFFICE OF GENERAL COUNSEL

September 16, 2011

 

Mr. Christopher Parks

5332 S Memorial Drive
Suite 100
Tulsa, OK 74145
NAL Nos. 200832170077 and
20093217009
Dear Mr. Parks:

On September 26, 2008, the Enforcement Bureau, Federal Communications Commission,
issued a Notice of Apparent Liability For Forfeiture against Clean Credit, Inc. in the amount of
$13,500.00 for willfully and repeatedly violating Section 227 of the Communications Act, 47
U.S.C. § 227, and the Commission’s related rules and orders, by delivering at least three
unsolicited advertisement to the telephone facsimile machine of at least three consumers On
December 19, 2008, the Commission issued a second Notice of Apparent Liability For Forfeiture
against Clean Credit, Inc. in the amount of $126,000.00 for willfully and repeatedly violating
Section 227 of the Communications Act, 47 U.S.C. § 227, by delivering at least twenty-eight
unsolicited advertisements to the telephone facsimile machines of at least twenty-six consumers
On September 28, 2010, the Commission issued a Forfeiture Order affirming the forfeiture
amount of $139,500.001n the September 26, 2008 and December 19, 2008 Notices of Apparent
Liability For Forfeiture. This is to inform you that if the forfeiture is not paid within 30 days of
the date of this letter, the matter will be referred to the Department of Justice for enforcement

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Payment may be made by check payable to the Federal Communications Commission.
Please write on the check the NAL number noted above and mail your check along with a copy
of this letter to:

Thank you.

Federal Communications Commission
Revenue & Receivables Operations Group
P.O. Box 979088

St. Louis, MO 63197

Sincerely,

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Susan L. Launer
Deputy Associate General Counsel

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FEDERAL COMMUNICATIONS COMl\/IISSION
WASHINGTON, D.C.

CERTIFICATE OF FORFEITURE

Violator(s) Name(s) and Clean Credit. Inc.
Address(es): 5332 S. Memorial Drive Suite 100
Tulsa, OK 74145

 

Total forfeiture assessed by FCC as of September 16, 2011 in the amount of $139,500.00.
I certify that Federal Communications Commission records show that the violator named above
has been ordered to pay to the United States the amount stated above.

This claim arose in connection with:

Notice of Apparent Liability F or Forfeiture released September 26, 2008
Notice of Apparent Liability For Forfeiture released December 19, 2008
Forfeiture Order released September 28, 2010

CERTIFICATION: Pursuant to 28 USC § 1746, I certify under penalty of perjury that the
foregoing is true and correct

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(Date) Susan L.vLauner
Deputy Associate General Counsel

 

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